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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNIVERSAL MUSIC GmbH d/b/a BRAVADO,      )
                                         )                    Case No. 20-cv-4157
           Plaintiff,                    )
                                         )                     Judge Gary Feinerman
v.                                       )
                                         )
THE INDIVIDUALS, CORPORATIONS, LIMITED   )
LIABILITY COMPANIES, PARTNERSHIPS AND    )
UNINCORPORATED ASSOCIATIONS IDENTIFIED ON)
SCHEDULE A HERETO,                       )
                                         )
           Defendants.                   )

                                 FINAL JUDGMENT ORDER

       This action having been commenced by UNIVERSAL MUSIC GmbH d/b/a BRAVADO

(“Plaintiff” or “VOLBEAT”) against the defendants identified in attached First Amended

Schedule A using certain Defendant Domain Names and Online Marketplace Accounts

(collectively, the “Defendant Internet Stores”), and Plaintiff having moved for entry of Default

and Default Judgment against the defendants identified in First Amended Schedule A

(collectively, the “Defaulting Defendants”);

       This Court having entered upon a showing by Plaintiff, a temporary restraining order and

preliminary injunction against Defaulting Defendants which included a domain name transfer

order and asset restraining order;

       Plaintiff having properly completed service of process on Defaulting Defendants, through

the combination of providing notice via electronic publication or e-mail, along with any notice

that Defaulting Defendants received from domain name registrars and payment processors, such

notice being reasonably calculated under all circumstances to apprise Defaulting Defendants of
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the pendency of the action and affording them the opportunity to answer and present their

objections; and

        None of the Defaulting Defendants having answered the Complaint or appeared in any

way, and the time for answering the Complaint having expired;

        THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Defendant Internet Stores through which Illinois residents can purchase counterfeit

products bearing or employing the VOLBEAT Trademark.

        THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15

U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

        IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

        IT IS FURTHER ORDERED that:

1.      Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

        confederates, and all persons acting for, with, by, through, under, or in active concert

        with them be permanently enjoined and restrained from:

        a. using the VOLBEAT Trademark in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine



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      VOLBEAT product or is not authorized by Plaintiff to be sold in connection with the

      VOLBEAT Trademark;

   b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

      VOLBEAT product or any other product produced by Plaintiff, that is not Plaintiff’s

      or is not produced under the authorization, control or supervision of Plaintiff and

      approved by Plaintiff for sale under the VOLBEAT Trademark;

   c. committing any acts calculated to cause consumers to believe that Defaulting

      Defendants’ products are those sold under the authorization, control or supervision of

      Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

   d. further infringing the VOLBEAT Trademark and damaging Plaintiff’s goodwill;

   e. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

      distributing, returning, or otherwise disposing of, in any manner, products or

      inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold

      or offered for sale, and which bear or employ any of the VOLBEAT Trademark;

   f. using, linking to, transferring, selling, exercising control over, or otherwise owning

      the Online Marketplace Accounts, the Defendant Domain Names, or any other

      domain name or online marketplace account that is being used to sell or is the means

      by which Defaulting Defendants could continue to sell Counterfeit/Infringing

      Products; and

   g. operating and/or hosting websites at the Defendant Domain Names and any other

      domain names registered or operated by Defaulting Defendants that are involved with

      the distribution, marketing, advertising, offering for sale, or sale of any product

      bearing or employing the VOLBEAT Trademark that is not a genuine VOLBEAT



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           Product or is not authorized by Plaintiff to be sold in connection with the VOLBEAT

           Trademark.

2.      Those in privity with Defaulting Defendants and with actual notice of this Order,

        including any online marketplaces including iOffer, DHgate social media platforms,

        Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and

        Yahoo, web hosts for the Defendant Domain Names, and domain name registrars, shall

        within ten (10) business days of receipt of this Order:

        a. disable and cease providing services for any accounts through which Defaulting

           Defendants engage in the sale of counterfeit and infringing goods using the

           VOLBEAT Trademark, including any accounts associated with the Defaulting

           Defendants listed in First Amended Schedule A attached hereto;

        b. disable and cease displaying any advertisements used by or associated with

           Defaulting Defendants in connection with the sale of counterfeit and infringing goods

           using the VOLBEAT Trademark; and

        c. take all steps necessary to prevent links to the Defendant Domain Names identified in

           First Amended Schedule A from displaying in search results, including, but not

           limited to, removing links to the Defendant Domain Names from any search index.

3.      Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff are awarded statutory damages from each of

        the Defaulting Defendants Counts I, II and III of the Complaint in the amount of one

        hundred thousand dollars ($100,000) per Defaulting Defendant for the willful use of the

        VOLBEAT Trademark on counterfeit products sold through at least the Defendant

        Internet Stores.




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4.      DHgate shall, within ten (10) business days of receipt of this Order, release to Plaintiff all

        monies currently restrained in Defaulting Defendants’ financial accounts held by DHgate

        as partial payment of the above-identified damages.

5.      In the event that Plaintiff identifies any additional online marketplace accounts, domain

        names or financial accounts owned by Defaulting Defendants, Plaintiff may send notice

        of any supplemental proceeding to Defaulting Defendants by e-mail at the email

        addresses identified in Exhibit 1 to the Declaration of Alexa Struck and any e-mail

        addresses provided for Defaulting Defendants by third parties.

6.      The ten thousand-dollar ($10,000) surety bond posted by Plaintiff, including any interest

        minus the registry fee, is hereby released. The Clerk of the Court is directed to return the

        surety bond previously deposited with the Clerk of the Court to Plaintiff or its counsel.



This is a Final Judgment.

Dated: March 9, 2021


                                       _____________________________________
                                       The Honorable Gary Feinerman
                                       United States District Court Judge




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                            FIRST AMENDED SCHEDULE A

Doe           Seller Name

 1    amesion85
 2    yubin11
 3    yubin1
 4    yuxin0002
 5    funnyteesstore
 6    lijian58
 7    pingguo5
 8    jie033
 9    lijian066
10    happycup
11    hx2093673809
12    lijian70
13    yubin10
14    gali2
15    jie45
16    futurename
17    shangshenglingshig
18    caisemao1
19    gali1
20    jie038
21    wenlong1
22    jie032
23    lijian034
24    amesion05ljl
25    linnan007
26    jie039
27    lijian046
28    fishclub
29    tigerball
30    linnan00002
31    zhangjingxin27
33    torymi
34    yoursuger
35    AXXXXXXXX
36    adidascup
37    adidastshirt
38    ahourstore
39    allin1cases
40    allweshop
41    alturasthreads
42    amazingdown
43    amesion02
44    amesion09ljl
45    amesion2409


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46   amesion2508
47   amesion30
48   amesion41
49   amesion46
50   amesion47
51   amesion59
52   amesion60
53   amesion82
54   amesion86
55   amesion92
56   Angeltshirt
57   Armanitshirt
58   baishi1
59   baishi10
60   baishi2
61   baishi5
62   banbostore
63   banwanyue2
64   bincheng1
65   bincheng2
66   bincheng5
67   bincheng6
68   bincheng7
69   bincheng8
70   bincheng9
71   biyue1
72   biyue4
73   biyue7
74   biyue8
75   biyue9
76   brandsupply
77   burberrytshirt
78   caisemao08
79   chaneltshirts
80   Classicclobber
81   clothing_dealss
82   cloudtshirt
83   colourfashion
84   conbostore
85   Dappachappy
86   ddgxx
87   deepseastation
88   demierrr
89   designlife
90   diortshirts
91   dragonballtshirt
92   eatipstore
93   fanyumaoyi02


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 94   fanyumaoyi03
 95   fanyumaoyi06
 96   fanyumaoyi07
 97   fanyumaoyi09
 98   fanyumaoyi10
 99   Fayshowstore
100   fgtt119
101   fightershop
102   fittingstore
103   fourcup
104   free_will_shirts
105   funnybonetees
106   funnymentee
107   funnytee
108   funnytshirt
109   futuretshirts
110   gali4
111   gali5
112   gali7
113   gali8
114   gaobei06
115   gaobei07
116   Geshstore
117   gooddonnedmyg
118   goodyuns
119   gucciteeshirt
120   guccitshirts
121   hahaonecup
124   italynest
125   jie030
126   jie037
127   jie2
128   jie21
129   jie4
130   jie40
131   jie42
132   jie46
133   jie51
134   jie53
135   jie56
136   jie58
137   jie59
138   jie9
139   jingyan002
140   jingyan004
141   jingyan006
142   jingyan008
143   jingyan009


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144   ktmsky
145   ktmtshirt
146   lanshiren5
147   leektg
148   lifeiscrap
149   liguo0029
150   liguo0035
151   liguo0036
152   liguo0042
153   liguo0048
154   liguo0054
155   liguo0059
156   lijain91
157   lijian035
158   lijian036
159   lijian04
160   lijian044
161   lijian047
162   lijian062
163   lijian063
164   lijian069
165   lijian17
166   lijian18
167   lijian53
168   lijian56
169   lijian59
170   lijian73
171   lijian74
172   lijian76
173   lijian84
174   lijian85
175   lijian86
176   lijian87
177   linnan00004
178   linnan00009
179   linnan0001
180   linnan0002
181   linnan0007
182   linnan001
183   linnan0010
184   linnan005
185   ll_shop
186   lm31tshirt
187   lm32tshirt
188   Lontimestore
190   lvtee
191   lvtshirts
192   margat


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193   mayshowstore
194   menstshirts44
195   mhostore
196   micky_tees
197   mochostore
198   Moilystore
199   Mvptshirt
200   nikecup
201   nikktm
202   peng02
203   peng04
204   Pepitaprint
205   pianetaoutlet
206   Pingcup
207   pingguo1
208   pingguo2
209   Pingguo4
210   pingguo6
211   pingguo8
212   pingguo99
213   pradateeshirt
214   pradatshirts
215   Printee
216   printshirts
217   qz106152964
218   Qz1409088365
219   qz1538381382
220   qz2878193779
221   qz3183389644
222   qz710418820
223   restdaystore
224   revolvertees
225   Shirt Club
226   shirtmall
227   shirtquarters
228   shirts164d1
229   shitan10
230   Shitan8
231   Shop4you2018
232   sillyboytshirts
233   societhirty
234   spidermantees
235   spreadsshirt
236   supertoyou
237   tee_spirit
238   teegood
239   tees1988
240   teespringsshirtee


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241   topclassaa
242   tshirtkidd
243   twicecup
244   upcup
245   valentinoteeshirt
246   valentinotshirts
247   versacetshirt
248   vistaprinthirt
249   wayslestore
250   wellcup
251   xm23tshirt
252   xsy17tshirt
253   Xsy18tshirt
254   xsy19tshirt
256   yage_shop
257   yellowcup
258   yg02tshirt
259   yg03tshirt
260   yg05tshirt
261   yg06tshirt
262   yg08tshirt
264   yohistore
265   yubin01
266   yubin02
267   yubin03
268   yubin08
269   yubin09
270   yunwa01
271   yunwa02
272   yuxin0001
273   yuxin0003
274   yuxin0006
275   yuxin0008
276   yuxin0010
277   yuxin002
278   yuxin005
279   yuxin007
280   yuxin008
281   yuxin07
282   yuxin10
283   zhangjingxin
284   zhangjingxin01
285   zhangjingxin04
286   zhangjingxin05
287   zhangjingxin08
288   zhangjingxin2
289   zhangjingxin25
290   zhangjingxin35


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291   zy88stees
293   bmw8090
294   lazsell
295   shinning168




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